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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                MIDLAND / ODESSA DIVISION




UNITED STATES OF AMERICA                              §
                                                      §
vs.                                                   §      CR. NO. MO-07-CR-119
                                                      §
CRYSTAL MUNOZ

                  Motion for Post-Verdict Judgement of Acquittal (Rule 29)

       ON THIS the 9th day of November, 2007, the defendant by and through counsel, makes a
motion for a post-verdict judgment of acquittal. The trial evidence presented was factually and
legally insufficient to prove beyond a reasonable doubt that the defendant possessed with an
intent to distribute a controlled substance.
       There was virtually no evidence presented by the Government at the trial that the
defendant actually possessed or constructively possessed any marijuana. The Government failed
to demonstrate that the defendant had ownership, dominion, or control over any contraband.
United States v. Shabazz, 993F 2d 431 (5th cir. 1993). The jury charge stated the Government
must prove possession with intent to distribute a controlled substance beyond a reasonable doubt.
The defendant believes the trial testimony and the evidence presented was factually and legally
insufficient to support a verdict of guilty beyond a reasonable doubt.



                                               Respectfully submitted,

                                               DAN WADE
                                               Attorney for Crystal Munoz

                                                 /s/Dan Wade
                                               _________________________________
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                                               Midland, TX 79701
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                                    Certificate of Service

By signing above, I hereby certify that on November 9, 2007, I filed this document with the
Clerk using the CM/ECF filing system, which will cause a copy of the document to be delivered
to Assistant United States Attorney, Mr. Jeff Parras.
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
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UNITED STATES OF AMERICA                     §
                                             §
vs.                                          §      CR. NO. MO-07-CR-119
                                             §
CRYSTAL MUNOZ                                §

Order Granting Defendant’s Motion for Judgment of Acquittal

      On this the ________ day of November, 2007, came on to be heard the Defendant’s
Motion for Judgment of Acquittal after considering the evidence, the motion is hereby
GRANTED.


SIGNED and ENTERED this ___________ day of November 2007.



                                       _________________________________________
                                                   JUDGE PRESIDING
